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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


BROIDY CAPITAL MANAGEMENT LLC and
ELLIOTT BROIDY,

                     Plaintiffs,
                                                            Civil Action No. 1:19-cv-00150-DLF
             v.

NICOLAS D. MUZIN, JOSEPH ALLAHAM,
GREGORY HOWARD, and STONINGTON
STRATEGIES LLC,

                     Defendants.


    PLAINTIFFS’ CROSS-MOTION TO COMPEL PRODUCTION OF DOCUMENTS

       Plaintiffs Broidy Capital Management, LLC and Elliott Broidy respectfully submit this

cross-motion, pursuant to Rules 37 and 45 of the Federal Rules of Civil Procedure, to compel

defendants Nicolas D. Muzin, Joseph Allaham, Gregory Howard, and Stonington Strategies,

LLC, and third-party subpoena recipients Heather Conover, Jeff Kleuter, and Information

Management Services, Inc. to produce the withheld documents over which Intervenor the State

of Qatar asserts purported privileges and immunities under the Vienna Convention on

Diplomatic Relations, Apr. 18, 1961, 23 U.S.T. 3227, 500 U.N.T.S. 95, and deliberative-process

privilege. Plaintiffs’ cross-motion should be granted for the reasons set forth in the

accompanying memorandum of law. Pursuant to Local Rule 7(c), a proposed order is submitted

herewith.1




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  Pursuant to L.Civ. R. 7(m), Plaintiffs’ counsel have conferred with Qatar’s counsel regarding
the subject matter of this cross-motion. Qatar opposes this cross-motion.
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Dated: August 7, 2023

                                      Respectfully submitted,

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